      Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 1 of 12




                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
                                                     MDL No. 2323
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                    Hon. Anita B. Brody


Kevin Turner and Shawn Wooden,                       Civ. Action No. 14-00029-AB
on behalf of themselves and
others similarly situated,
            Plaintiffs,

                 v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
            Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                       DECLARATION OF CHRISTOPHER A. SEEGER

       CHRISTOPHER A. SEEGER declares, pursuant to 28 U.S.C. § 1746, based upon his

personal knowledge, information and belief, the following:

       1.       I am Court-appointed Co-Lead Class Counsel for the Settlement Class that this

Court certified in its Amended Final Order and Judgment entered on May 8, 2015 (ECF No. 6534)

in accordance with its April 22, 2015 decision (ECF No. 6509) granting final approval to the

February 13, 2015 Class Action Settlement Agreement, as amended (ECF No. 6481-1). I am fully

familiar with the matters set forth herein, which are based on my personal knowledge and review
       Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 2 of 12



of my firm’s files. I submit this Declaration in response to the Expert Report of Professor William

B. Rubenstein filed on December 11, 2017 (ECF No. 9526).

       2.      My firm regularly receives updated reports from the Court-appointed Claims

Administrator, BrownGreer, PLC, concerning Settlement program monetary award claims

processing data.

       3.      Based on my review of such reports, as of December 19, 2017, 1,542 claims for

monetary awards had been submitted, and the Claims Administrator had approved some 202

awards, amounting to nearly $254 million before liens or other withholdings, with 63 awards

(totaling nearly $75 million) already paid and the remainder either awaiting the Court’s approval

of funding, the subject of appeal or audit, or still within the appeal deadline. The more than 1,300

other claims were in various stages of processing, including denials (60 claims), claims awaiting

the Claims Administrator’s review, claims the subject of audit, claims requiring that the Class

Member respond to a request for additional information, and the Claims Administrator reviewing

responses to additional information requests.

       4.      In addition, as of December 31, 2017, the NFL had filed 25 appeals of monetary

award determinations. The appeal deadline had yet to expire on 32 monetary award decisions.

       5.      Among the Settlement Agreement implementation-related disputes with the NFL

that I and my firm have been addressing is the issue of how to resolve the opposition of physicians

who participate in the Collective Bargaining Agreement’s so-called “88 Plan” to signing

Diagnosing Physician Certifications (a form required as part of a monetary award claim package).

We are seeking to allow a Retired NFL Football Player with an 88 Plan diagnosis to be either

independently examined by a Qualified MAF Physician or to have his medical records reviewed

by a member of the Appeals Advisory Panel, with his date of diagnosis related back to the date of



                                                 2
      Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 3 of 12



diagnosis for 88 Plan purposes. The issue of how to accommodate 88 Plan diagnoses is presently

before Special Master Verrier for resolution.

       6.      Another dispute with the NFL has been over what diagnostic criteria satisfy the pre-

Effective Date “generally consistent” language in Section 6.4(b) and Exhibit A-1 of the Settlement

Agreement relating to Qualifying Diagnoses for purposes of demonstrating Level 1.5 and Level 2

Neurocognitive Impairment. See ECF No. 6481-1, at 37, 106-08. The NFL has argued that the

impairment levels that drive the BAP, which are narrow, should guide, whereas I maintain that a

more generous and inclusive standard, the “dementia” diagnosis, should guide. We have submitted

statements to the Special Masters on this issue in support of individual Class Members in

connection with appeals of monetary award determinations.

       7.      The foregoing are just are two of many disputed issues between the Settling Parties

as to the implementation of the Settlement Agreement that have required negotiation or resolution

of one form or another.

       8.      Annexed hereto as Exhibit “A” is a report, dated January 3, 2018 and entitled “An

Updated Analysis of the NFL Concussion Settlement,” prepared by Thomas Vasquez, Ph.D. of

Ankura Consulting Group. The data set forth in paragraph 3 above concerning the number of

approved monetary awards and the dollar value thereof were furnished to Dr. Vasquez.

       9.      I declare under penalty of perjury that the foregoing is true and correct.

Executed this 3rd day of January, 2018


                                                /s/ Christopher A. Seeger
                                                CHRISTOPHER A. SEEGER
                                                Co-Lead Class Counsel




                                                  3
Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 4 of 12




                 EXHIBIT A
Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 5 of 12
Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 6 of 12
Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 7 of 12
Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 8 of 12
Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 9 of 12
Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 10 of 12
Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 11 of 12
Case 2:12-md-02323-AB Document 9552-1 Filed 01/03/18 Page 12 of 12
